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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 IN RE: 100% GRATED PARMESAN
 CHEESE MARKETING AND SALES                            CASE NO. 16 cv 5802
 PRACTICES LITIGATION
                                                       MDL No. 2705
 This Document Relates to Brahler v. Kraft
 Heinz Food Company, U.S. District Court               Judge Gary S. Feinerman
                  of California, Case No.
 Eastern District of
 2:16-cv-00849
 2: 16-cv-00849




 MOTION FOR LEAVE TO WITHDRAW APPEARANCE OF MICHAEL MEREDITH

       The undersigned respectfully requests leave to withdraw the appearance of Michael

Meredith on behalf of Plaintiff George Brahler. As of August 3, 2018, Michael Meredith is no

longer with the firm of Keller Rohrback LLP. Plaintiff remains represented by Cari C.

Laufenberg and Tana Lin. Permitting Mr. Meredith to withdraw as counsel for Plaintiff will not

jeopardize the
jeopardize the case
               case or
                    or otherwise
                       otherwise negatively
                                 negatively impact
                                            impact Plaintiffs
                                                   Plaintiff’s legal
                                                               legal representation in this
                                                                     representation in this case
                                                                                            case or
                                                                                                 or

result in any delay or cause prejudice to any other party.

       WHEREFORE, Plaintiff George Brahler respectfully requests that Michael Meredith be

granted leave to withdraw his appearance on behalf of Plaintiff instanter.

                                                  KELLER ROHRBACK L.L.P.


                                                      /s/ Cari
                                                  By: /5/ Can C. Laufenberg
                                                  Cari C. Laufenberg
                                                  Can
                                                  claufenberg@kellerrohrback.com
                                                  claufenberg@kellen-ohrback.com
                                                  KELLER ROHRBACK L.L.P.
                                                  1201 Third Avenue, Suite 3200
                                                  Seattle, WA 98101-3052
                                                  Tel: (206) 623-1900; Fax: (206) 623-3384

                                                           for Plaintiff
                                                  Attorney for Plaintiff George Brahler
   Case: 1:16-cv-05802 Document #: 286 Filed: 08/16/18 Page 2 of 2 PageID #:1847




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 16, 2018, a copy of the foregoing

document was electronically filed with the United States District Court, Northern District of

Illinois, via the
Illinois, via the Court's
                  Court’s CM/ECF
                          CM/ECF filing system, which
                                 filing system, which will
                                                      will send
                                                           send notification
                                                                notification of
                                                                             of such
                                                                                such filing
                                                                                     filing to
                                                                                            to

counsel of record, on August 16, 2018

                                                    /s/ Cari
                                                    Is/ Can C. Laufenberg
                                                    Cari C. Laufenberg




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